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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


NATIONAL RIFLE ASSOCIATION OF
AMERICA,

               Plaintiff/Counter-Defendant,

v.                                                 Civil Action No.: 1:18-cv-00639-LO-JFA

LOCKTON AFFINITY SERIES OF
LOCKTON AFFINITY, LLC, and
KANSAS CITY SERIES OF LOCKTON
COMPANIES, LLC,

               Defendants/Counter-Plaintiffs.


                        JOINT MOTION FOR ENTRY OF
               STIPULATION AND [PROPOSED] PROTECTIVE ORDER

       Plaintiff/Counter-Defendant     National     Rifle    Association     of   America      and

Defendants/Counter-Plaintiffs Lockton Affinity Series of Lockton Affinity, LLC and Kansas City

Series of Lockton Companies, LLC (each a “Party,” and collectively, the “Parties”), by their

respective undersigned counsel, respectfully move this Court, pursuant to Rule 26(c) of the Federal

Rules of Civil Procedure, for entry of the attached Joint Stipulation and [Proposed] Protective

Order limiting the use and disposition of certain information and documents. Discovery in this

action may yield documents and information of a sensitive and confidential nature. As a result, the

Parties have agreed to the attached Joint Stipulation and [Proposed] Protective Order.

       The parties agree to submit this Joint Motion to the Court without oral argument pursuant

to Local Rule 7(E).
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Dated: September 7, 2018

Respectfully submitted,                     Respectfully submitted,

NATIONAL RIFLE ASSOCIATION OF               LOCKTON AFFINITY SERIES OF
AMERICA                                     LOCKTON AFFINITY, LLC, and
                                            KANSAS CITY SERIES OF
                                            LOCKTON COMPANIES, LLC

By: /s/ Robert H. Cox                       By: /s/ Timothy J. McEvoy
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                                            and Kansas City Series of Lockton Companies,
                                            LLC




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                                 CERTIFICATE OF SERVICE

       I certify that on September 7, 2018, I electronically filed the foregoing Joint Motion for

Entry of Stipulation and [Proposed] Protective Order, memorandum in support thereof, and

Stipulation and [Proposed] Protective Order with the Clerk of the Court using the CM/ECF

system, which will send notification of such filing to all counsel of record, including:


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